
*1109OPINION.
Arundell:
The assignments executed by the petitioner merely gave his wife the right to receive direct from the Massachusetts Mutual Life Insurance Co. one-third of such renewal commissions as were then due or might thereafter become due and payable to him under his contract with the company. The effect of the instruments was to assign a right to receive future income. The amount becomes taxable income to the assignor in such cases before the assignee receives the money. The action of the respondent in taxing the petitioner on the amounts returned by his wife is sustained. Alexander S. Browne, 3 B. T. A. 826; Fred W. Warner, 5 B. T. A. 963; Edward J. Luce, 18 B. T. A. 923.

Decision will Toe entered for the respondent.

